              Case: 18-01096        Doc: 58    Filed: 02/26/19    Page: 1 of 2




Dated: February 26, 2019
The following is ORDERED:




                                           Tom R. Cornish
                                           U.S. Bankruptcy Judge
 __________________________________________________________________



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA


IN RE:
ALEXANDER LOUIS BEDNAR                             Case No. 15-11916-TRC
                                                   Chapter 7

                             Debtor.

ALEXANDER L. BEDNAR,

                             Plaintiff,

vs.                                                Adv. No. 18-01096-TRC

FRANKLIN AMERICAN MORTGAGE
COMPANY, FEDERAL NATIONAL
MORTGAGE ASSOCIATION,
OKLAHOMA COUNTY SHERIFF,
AND RCB BANK,

                             Defendants.


                       ORDER DEFERRING MOTION TO QUASH

       Before the Court is Alexander Bednar’s Motion to Quash Subpoena to M&T Buchannan,

LLC d/b/a Quail Post (Docket Entry 57) filed February 21, 2019. This Court dismissed this case
                 Case: 18-01096        Doc: 58     Filed: 02/26/19      Page: 2 of 2




with prejudice on November 9, 2018. The Order of Dismissal is currently on appeal before the

Bankruptcy Appellate Panel of the Tenth Circuit, BAP Appeal No. 18-99.

          Fed. R. Bankr. P. 8008 governs motions filed in bankruptcy court for relief that the court

lacks authority to grant because of a pending appeal. In accordance with Rule 8008(a)(1), this

Court will defer consideration of the Motion to Quash Subpoena pending the outcome of the

appeal.

          IT IS THEREFORE ORDERED that Alexander Bednar’s Motion to Quash Subpoena

(Docket Entry 57) is deferred until such time as the appeal is resolved.

          The Clerk of Court is directed to transmit a copy of this Order to the Bankruptcy

Appellate Panel of the Tenth Circuit.

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